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IN THE UNITED sTATEs DISTRICT CoURT -- D-C- `
FoR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 AUG 23 PH 3= 18
ANGELA MCCUTCHEN and M]!‘CU"'S£}%§'TW&W
cHRIsToPHER MCCUTCHEN, W,/a tr n ;\..=:FEJPHLQ
P1aimiffs, `
vs. No.: 05-2142 Ml-V

METROPOLITAN GOVERNMENT OF
NASHVILLE AND DAVIDSON COUNTY,
WILLIAM PATTERSON,
GALEN SANDERS, PAUL SHARPE,
TIPTON COUNTY,
LAURA ADKINS, WILLIAM WHITE
and BRANDON WILLIAMS,

Defendants.

 

CONSENT ORDER OF DISMISSAL AS TO DEFENDANTS
METROPOLITAN GOVERNMENT OF NASHVILLE AND DAVIDSON COUNTY,
WILLIAM PATTERSON, GALEN SANDERS AND PAUL SHARPE

 

By agreement of the parties, all matters at issue in this litigation concerning Defendants
Metropolitan Government of Nashville and Davidson County, William Patterson, Galen Sanders
and Paul Sharpe have been settled and compromised All claims, and only the claims, against
the Metropolitan Government of Nashville and Davidson County, William Patterson, Galen
Sanders and Paul Sharpe are hereby dismissed With prejudice.

It is therefore, ORDERED, ADJUDGED and DECREED that this cause be and the same
is hereby dismissed only as to defendants the Metropolitan Government of Nashville and

Davidson County, Williarn Patterson, Galen Sanders and Paul Sharpe.

This document entered on the docket sheet |n compliance
wuh nme sa and/or 79(3) Fncr= on § UJ"

Case 2:05-cV-02142-.]P|\/|-de Document 34 Filed 08/23/05 Page 2 of 3 Page|D 35

IT ls so oRDERED this 23 day of VL , 2005.

entail

Jo P. McCalla
U 'ted States District Judge

APPROVED FOR ENTRY:

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Attorney for Plaintiff

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(901) 324-5474

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
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ESSEE

 

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Honorable .1 on McCalla
US DISTRICT COURT

